Case 1:20-mc-00031-LO-IDD Document 1-1 Filed 09/25/20 Page 1 of 3 PageID# 4




                        EXHIBIT
                           A
     Case 1:20-mc-00031-LO-IDD Document 1-1 Filed 09/25/20 Page 2 of 3 PageID# 5


                             COMMONWEALTH OF VIRG~RETURN                          ON THIS COPY




                                     PRINCE WILLIAM CIRCUIT COURT
                                             Criminal Division
                                            9311 LEE AVENUE
                                           MANASSAS VA 20110
                                              (703) 792-6025

                                            Witness Subpoena


To the sheriff of: PRINCE WILLIAM COUNTY                         Case number: 153CR19003800-00
  or any authorized officer

You are commanded to summon: S. AGENT MARK GRADO - FBI
                             FBI
                             9325 DISCOVERY BLVD
                             MANASSAS VA 20109



To appear in the PRINCE WILLIAM CIRCUIT COURT - Criminal Division at its courthouse, 9311 LEE
AVENUE, on Friday, October 02,2020 at 01 :OOPM, to testify in the case of COMMONWEALTH OF VAvs
DEVON OLIVER CAMERON.




This Subpoena is issued on application of the defendant in the case of
                         COMMONWEALTH OF VA vs DEVON OLIVER CAMERON.
Service issued: Thursday, August 27,2020
Clerk of Court: JACQUELINE    C SMITH




Instructions:



Attorney's name: SW AJER, SCOTT
                 13270 MINNIEVILLE RD
                 WOODBRIDGE VA 22192
     Case 1:20-mc-00031-LO-IDD Document 1-1 Filed 09/25/20 Page 3 of 3 PageID# 6


                            COMMONWEALTH OF VIRGINIA




                                   PRINCE WILLIAM CIRCUIT COURT
                                           Criminal Division
                                          9311 LEE AVENUE
                                         MANASSAS VA 20 II 0
                                            (703) 792-6025
                                                 Proof of Service
Virginia:
  Inthe PRINCE WILLIAM CIRCUIT COURT
                                                                       Case number: 153CR 19003800-00
                                                                    Service number: 00 I
                                                                       Service filed: December 18, 2019
                                                                              Judge:
    Served by: PRINCE WILLIAM COUNTY
  Style of case: COMMONWEALTH        OF VA vs DEVON OLIVER CAMERON.
   Service on: S. AGENT MARK GRADO - FBI
               FBI
               9325 DISCOVERY BLVD
               MANASSAS VA 20 I09



   Type of service: Defendant witness (DW)

  Instructions:


Hearing date : Friday, October 02,2020 at 01 :OOPM
Service issued: Thursday, August 27, 2020

                                             For Sheriff Use Only
